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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                 HON. AMIT P. MEHTA

 GOOGLE LLC,

                              Defendant.




 STATE OF COLORADO, et al.,

                              Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                 HON. AMIT P. MEHTA

 GOOGLE LLC,

                              Defendant.


  DEFENDANT GOOGLE LLC’S ADMITTED EXHIBITS AND DEMONSTRATIVES

       Defendant Google LLC files this notice in connection with the submission of its admitted

exhibits and demonstratives in the above-captioned cases. On May 15, 2025, Google provided

the Court with a thumb drive containing Google’s Admitted Exhibits and Demonstratives List,

along with copies of the admitted exhibits and demonstratives. A public version of Google’s

Admitted Exhibits and Demonstratives List is available at Exhibit A.

Dated: May 15, 2025                          Respectfully submitted,

                                             WILLIAMS & CONNOLLY LLP

                                             By: /s/ John E. Schmidtlein
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                                             Benjamin M. Greenblum (D.C. Bar No. 979786)
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